      CASE 0:17-cr-00107-DWF-TNL           Doc. 231     Filed 06/29/17     Page 1 of 8




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                             Criminal No. 17-107(11) (DWF/TNL)

                     Plaintiff,

v.                                                       ORDER AND MEMORANDUM

Bhunna Win,
a/k/a Bhunna Siriangkhunwanish

                     Defendant.



       This matter is before the Court on the Government’s request for de novo review of

Magistrate Judge Franklin L. Noel’s Order Setting Conditions of Release filed on

June 26, 2017, Doc. No 222. (Doc. Nos. 208 & 229.) After the Magistrate Judge ordered

Defendant released, the Court granted the Government’s request to stay the release

pending this Court’s expedited review. (Doc. No. 209.) The Government argues that

Defendant should not be released because there is no set of conditions that would

reasonably assure Defendant’s appearance at trial or that Defendant will not abide by the

conditions of release. Defendant has not filed an opposition to the Government’s motion,

but the Court has reviewed Defendant’s arguments in support of release that were made

to the Magistrate Judge.

       Based upon the presentations of counsel, the Court having reviewed the contents

of the file in this matter, including the transcript from the June 26, 2017 hearing, the
      CASE 0:17-cr-00107-DWF-TNL         Doc. 231     Filed 06/29/17    Page 2 of 8




Magistrate Judge’s Order (Doc. No. 222), the Pretrial Services Report, and the Court

being otherwise duly advised in the premises, the Court hereby enters the following:

                                        ORDER

      1.     The Government’s Motion for Emergency Stay and for Review and

Revocation of Release Order (Doc. No. [208]) is DENIED.

      2.     Magistrate Judge Franklin L. Noel’s June 26, 2017 Order Setting

Conditions of Release (Doc. No. [222]) is AFFIRMED.

Dated: June 29, 2017                     s/Donovan W. Frank
                                         DONOVAN W. FRANK
                                         United States District Judge




                                            2
      CASE 0:17-cr-00107-DWF-TNL           Doc. 231    Filed 06/29/17     Page 3 of 8




                                    MEMORANDUM

       Defendant Bhunna Win is one of the twenty-one individuals indicted as part of an

international sex-trafficking and money-laundering organization. Win has been charged

with Conspiracy to Engage in Money Laundering, in violation of 18 U.S.C. § 1956(h). If

convicted of this offense, then under the U.S. Sentencing Guidelines, Defendant faces an

advisory sentence of between 235 and 240 months in prison.

       Broadly, members of the organization operated in roles as traffickers, house

bosses, and money launderers. Sometimes, members had overlapping roles, but

oftentimes they filled discrete functions. Traffickers would recruit victims from Thailand

and facilitate their transport to the United States. The traffickers held a bondage debt

over the victims, which was typically between $40,000 and $60,000. Once victims were

lured to the United States, they were forced to work long hours—often all day, every

day—having sex with strangers to attempt to pay down their bondage debt. Victims

typically did not have the ability to choose with whom they had sex, what sex

transactions they would engage in, or when they would have sex. (Doc. No. 16

(“Indictment”) ¶ 4.)

       House bosses would run the day-to-day operations, including advertising victims

for commercial sex acts, procuring and maintaining the houses of prostitution, scheduling

sex buyers, and ensuring that a portion of the cash was routed back to pay down the

victim’s bondage debts. (Id. ¶ 5b.) In exchange, house bosses retained a significant

portion of the cash that the victims received, typically 40%. (Id.) House bosses would
                                             3
      CASE 0:17-cr-00107-DWF-TNL            Doc. 231     Filed 06/29/17        Page 4 of 8




also coordinate with traffickers and other house bosses to facilitate the victims’ travel to

other cities in the United States. (Id.)

       Money launderers were essential to the organization. The money launderers made

their bank accounts available for deposits and then would coordinate withdrawals and

transfers. According to the Indictment, the organization has laundered millions of

dollars.

       Win has sought pretrial release. The Pretrial Services Report 1 recommended that

she be detained because: (1) she has foreign ties—she has family and a home in

Thailand; and (2) Defendant has uncertain employment. The Magistrate Judge, however,

granted conditional release, and the Government appealed. The district court conducts a

de novo review of release and detention orders. Pursuant to Rule 46(b) of the Federal

Rules of Criminal Procedure and 18 U.S.C. § 3142, courts consider the following factors

in assessing the continued detention of a defendant:

       (a)    The nature and circumstances of the offense charged . . . ;

       (b)    the weight of the evidence against the [defendant];

       (c)    the history and characteristics of the [defendant] . . . ; and

       (d)    the nature and seriousness of the danger to any person or the
              community that would be posed by the [defendant’s] release . . . .


1
       The Pretrial Services Report mistakenly included that Win was charged with
“crimes involving sex offense/abuse” and crimes “involving a child.” At the hearing with
the Magistrate Judge, the Government acknowledged that Win was charged only with
conspiracy to commit money laundering and not for sex trafficking. Regardless, the
allegations do not involve children.
                                            4
      CASE 0:17-cr-00107-DWF-TNL            Doc. 231     Filed 06/29/17     Page 5 of 8




       Pretrial detention may be ordered either upon a clear and convincing showing that

release would result in a danger to the community or upon a showing by a preponderance

of the evidence that the release will result in a serious risk of flight. United States v.

Abad, 350 F.3d 793, 797 (8th Cir. 2003); United States v. Sazenski, 806 F.2d 846, 848

(8th Cir. 1986). Additionally, if a court “finds that there is probable cause to believe that

the person committed an offense under chapter 77 of [Title 18] for which [the] maximum

term of imprisonment [is] 20 years or more,” then the court employs a rebuttable

presumption that “no condition or combination of conditions will reasonably assure the

appearance of the person as required and the safety of the community.”

18 U.S.C § 3142(e)(3)(D).

       Here, Win has not been charged with a crime that give rises to the presumption of

detention. This fact puts Win in a different position than many of her co-defendants who

are charged with Conspiracy to Commit Sex Trafficking by Force, Fraud, and Coercion,

in violation of 18 U.S.C. § 1594, a Chapter 77 offense punishable by up to life in prison.

As a result, Win does not face a presumption that there is no condition or combination of

conditions that will reasonably assure her appearance and the safety of the community.

The Government therefore must show by clear and convincing evidence that release

would result in a danger to the community or by a preponderance of the evidence that the

release will result in a serious risk of flight. Here, the Government argues only that Win

is a serious flight risk.



                                               5
      CASE 0:17-cr-00107-DWF-TNL          Doc. 231     Filed 06/29/17    Page 6 of 8




       The first factor—the nature and circumstances of the offense charged—weighs in

favor of detaining Win. Win has been charged as part of an international sex-trafficking

and money-laundering organization. If convicted, Win faces almost 20 years in prison

(but only if the Government proves that Win intended to promote sex trafficking by

laundering the money). (See Indictment ¶ 32(a).) Thus, the gravity of the circumstances

and the seriousness of the possible consequences suggest that Win should be detained.

       Likewise the second factor—the weight of the evidence against Win—suggests

detention is appropriate. The Government avers that $1.2 million was deposited into

accounts controlled by Win and that Win transferred more than $1 million outside of the

United States to Malaysia and India. This is all while Win was working in food services

for a school district in California where she often made less than $10,000 per year.

Additionally, the Government presented evidence that Win often traveled internationally.

Given this travel and Win’s salary, the Government implies, but does not demonstrate,

that Win was paid substantially for her role as money launderer. Even without evidence

of her pay, however, the Government has shown that there is substantial evidence that

Win engaged in a conspiracy to commit money laundering.

       The third factor—Defendant’s history and characteristics—weighs in favor of

release. Win has no prior criminal record and is a legal permanent resident. Before her

arrest, Win had been employed for four years. Win has three children, two of whom are

minors. And for the last five years, Win has lived with her sister-in-law. Win’s husband

is a U.S. citizen who was living in Burma (Myanmar), but after Win’s arrest, he returned
                                             6
      CASE 0:17-cr-00107-DWF-TNL          Doc. 231     Filed 06/29/17    Page 7 of 8




to the United States. Thus, Defendant’s history and characteristics suggest that she is not

a danger to the community, nor is she a serious flight risk given her ties to the community

and characteristics.

       The fourth factor—the nature and seriousness of the danger to any person or the

community that would be posed by the defendant’s release—weighs in favor of release.

Unlike many of her co-defendants, there is no allegation that Win oversaw any of the

organization’s prostitution or human-trafficking activities. For other co-defendants, the

Court has concluded that detention is appropriate if the defendants held prostitution or

trafficking roles because those roles necessarily involved violence and carry harsher

penalties. Here, in contrast, Win’s only role was that of a money launderer. Thus, the

Court concludes that the Government has not shown that, if released, Win poses a danger

to the community.

       Weighing the factors, the Court concludes that Win should be released with the

conditions outlined in Magistrate Judge Noel’s June 26, 2017 order. Admittedly, this is a

close call for the Court. The Government has offered evidence that Win often traveled

internationally despite her modest salary. Similarly, the allegations in the Indictment

suggest that Win knew that the money that she was laundering was from sex trafficking

and prostitution and that Win intended to promote sex trafficking by laundering the

money. But the Government has failed to provide any evidence (other than allegations)

regarding: (1) how Win joined the conspiracy; (2) whether and how often she interacted

with other members; or (3) how much she was paid to launder money. Without this
                                             7
      CASE 0:17-cr-00107-DWF-TNL          Doc. 231     Filed 06/29/17    Page 8 of 8




evidence, the Court is left with implications that Win was paid substantially for her

role—given the travel—and that Win knew about the trafficking—given the allegations

in the Indictment. The Court, however, cannot rely on inferences and implications. At

bottom, the Government asks the Court to order Win detained because she has access to

substantial cash (albeit illicit cash) and she has family and a home in Thailand. These

bases are simply not enough to detain the defendant here: Win’s children and now her

husband are here in the United States; Win has lived here for over ten years; and Win has

agreed to home detention, an appearance bond, and GPS monitoring. Thus, the Court

concludes that these conditions will reasonably assure Win’s appearance. Accordingly,

the Court affirms Magistrate Judge Noel’s June 26, 2017 order.

                                          D.W.F.




                                             8
